 Case 3:10-cr-00111        Document 531         Filed 02/02/12      Page 1 of 3 PageID #: 1944




                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   HUNTINGTON DIVISION


UNITED STATES OF AMERICA


v.                                                    CRIMINAL ACTION NO. 3:10-00111-07

BARRY ADKINS


                           MEMORANDUM OPINION AND ORDER
                            DENYING MOTION FOR NEW TRIAL


       Following his conviction at trial, Defendant filed his Motion for New Trial (Doc. #468). His

motion asserts that the Court erred in allowing the Government to call Ms. Brown, a bank teller, as

a witness. Finding no error, the Court DENIES Defendant’s motion.

       Mr. Adkins was charged in a Superseding Indictment with conspiracy to distribute marijuana

from 2002 into 2010. The day before trial, the Government disclosed that a newly found witness,

Ms. Brown, would be called to testify. Its disclosure included a Report of Investigation which

summarized both the Government’s discovery of Ms. Brown as a potential witness and the testimony

it expected from her. In response to Defendant’s objection to her testimony, the Court conducted,

in camera, a hearing to determine when and how the Government learned of Ms. Brown and whether

her purported testimony would be admissible.

       As a result of this inquiry, the Court found that Ms. Brown had first been identified by the

Government as a potential witness approximately ten days before trial; that she was first interviewed

by investigators on August 29, 2010, and the Report of Investigation prepared that day; and that the

Government disclosed all of this to the defendant the day before trial. As reflected more fully in her
 Case 3:10-cr-00111         Document 531         Filed 02/02/12      Page 2 of 3 PageID #: 1945




in camera testimony, Ms. Brown had worked at a local bank as a vault teller for several years, up

to and including 2009. She recalled that, as part of her duties as the bank’s vault teller, she received

15 to 20 currency deposits from Huntington Police Department officers. These deposits had an

extremely strong odor which the officers explained was the smell of marijuana. She then testified

that she recalled the defendant as a bank customer who often made large cash deposits of $2000 to

$4000, which had the same strong odor.

         The Court admitted her testimony under FRE 701, which allows a lay witness to offer

opinion testimony as to some matters. The Court found her testimony that Defendant’s currency

deposits smelled strongly of marijuana was rationally based. She described considerable experience,

prior to Defendant’s deposits, where she handled cash deposits bearing the same strong odor

identified by law enforcement officers as the smell of marijuana. The number of times she made

these observations and the similarity of the context of Defendant’s deposits warranted admissibility.

Courts have long allowed circumstantial evidence of illegal drugs to be admissible. See United

States v. Westbrook, 896 F 2d 330 (8th Cir. 1990); United States v. Harrell, 737 F 2d 971 (11th Cir.

1984).

         The Court also concludes that the late disclosure of this witness did not prejudice Defendant.

First, the Government acted promptly in identifying and disclosing her once it learned of her. The

Report of Investigation summary adequately summarized her expected testimony. The defense had

the benefit of her in camera testimony as well, and makes no credible claim of prejudice. His only

argument is that late disclosure prevented him from obtaining his bank deposit records, apparently

speculating that the records may contradict Ms. Brown’s recollection of large cash deposits by




                                                  -2-
 Case 3:10-cr-00111        Document 531        Filed 02/02/12      Page 3 of 3 PageID #: 1946




Defendant over this period. However, he makes no argument that he tried, at trial or since, to obtain

such records or that such records would be helpful.

       In addition, the contested evidence could not have had a substantial effect in the jury’s

verdict. Here, other co-conspirators provided the bulk of the Government’s evidence, some of which

included recorded discussions of the conspiracy. Any error in the admission of this evidence was

harmless. Defendant is not entitled to a new trial.

       The Court DIRECTS the Clerk to send a copy of this written Opinion and Order to counsel

and the defendant, the U.S. Attorney’s Office, the U.S. Probation Office, and the U.S. Marshals’

Service.




                                              ENTER:          February 2, 2012




                                              ROBERT C. CHAMBERS
                                              UNITED STATES DISTRICT JUDGE




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